        Case 4:23-cv-00114-RH-MAF Document 169 Filed 10/20/23 Page 1 of 2
                                                                              Page 1 of 2



            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


JANE DOE et al.,

                Plaintiffs,

v.                                            CASE NO. 4:23cv114-RH-MAF

JOSEPH A. LADAPO et al.,

          Defendants.
___________________________/


          ORDER CONFIRMING THE AMENDED SCHEDULE AND
          REQUIRING NOTICE OF ADDITIONAL AVAILABILITY


        For the reasons set out on the record of the hearings on October 4 and 16,

2023,

        IT IS ORDERED:

        1. The agreed motion to revise the schedule, ECF No. 155, is granted, except

as to scheduling of the trial.

        2. The trial is rescheduled to begin on December 13, 2023, at 9:00 a.m. and

will continue as needed on December 14, 21, and 22, unless the schedule is

modified under paragraph 3 below.




Case No. 4:23cv114-RH-MAF
       Case 4:23-cv-00114-RH-MAF Document 169 Filed 10/20/23 Page 2 of 2
                                                                                     Page 2 of 2



        3. The parties must confer on their availability for trial on December 12, 15,

and 20. The trial will be conducted as necessary on those days, or parts of those

days, in addition to December 13, 14, 21, and 22, if both sides are available.

        4. By November 3, 2023, the parties must notify the clerk of court of their

availability for trial on December 12, 15, or 20. Notice may be given in a filing or

orally to the courtroom deputy clerk.

        5. The plaintiffs’ oral motion to bifurcate the trial, as presented at the

hearing on October 16, 2023, is denied.

        SO ORDERED on October 20, 2023.

                                          s/Robert L. Hinkle
                                          United States District Judge




Case No. 4:23cv114-RH-MAF
